Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19      PageID.2894    Page 1 of 31




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 ARAB AMERICAN CIVIL RIGHTS
 LEAGUE, et al.,

 Plaintiffs,                                 Case No. 2:17-cv-10310-VAR-SDD

 v.                                            Hon. Victoria A. Roberts

 DONALD TRUMP, et al.,                         Mag. J. Stephanie D. Davis

 Defendants.


 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO CERTIFY
 THIS COURT’S JULY 10, 2019 ORDER FOR INTERLOCUTORY APPEAL
        AND FOR A STAY OF DISCOVERY PENDING APPEAL

         Plaintiffs, by and through their undersigned counsel, oppose Defendants’

 Motion to Certify This Court’s July 10, 2019 Order for Interlocutory Appeal and for

 a Stay of Discovery Pending Appeal for the reasons set forth in the accompanying

 Memorandum.


 Dated: August 6, 2019                              Respectfully submitted,
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19   PageID.2895   Page 2 of 31




  Counsel for Arab American Civil Rights League, American Arab Chamber of
       Commerce, Hend Alshawish, Salim Alshawish, and Fahmi Jahaf

  AYAD LAW, P.L.L.C.
  /s/ Nabih H. Ayad
  Nabih H. Ayad (P59518)
  645 Griswold St., Ste. 2202
  Detroit, MI 48226
  (313) 983-4600
  nayad@ayadlaw.com


  Counsel for American Civil Liberties Union of Michigan, Arab American and
   Chaldean Council, Arab American Studies Association, and Kaltum Saleh

  /s/ Miriam Aukerman                     /s/ Nishchay H. Maskay
  Miriam Aukerman (P63165)                Jason C. Raofield (D.C. Bar
  American Civil Liberties Union          #463877)
  Fund of Michigan                        Nishchay H. Maskay (D.C. Bar
  1514 Wealthy SE, Suite 260              #998983)
  Grand Rapids, MI 49506                  Covington & Burling LLP
  (616) 301-0930                          850 10th Street, NW
  maukerman@aclumich.org                  Washington, DC 20001
                                          (202) 662-6000
                                          nmaskay@cov.com
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19   PageID.2896    Page 3 of 31




                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 ARAB AMERICAN CIVIL RIGHTS
 LEAGUE, et al.,

 Plaintiffs,                               Case No. 2:17-cv-10310-VAR-SDD

 v.                                         Hon. Victoria A. Roberts

 DONALD TRUMP, et al.,                      Mag. J. Stephanie D. Davis

 Defendants.


            MEMORANDUM OF LAW IN SUPPORT OF
 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO CERTIFY
 THIS COURT’S JULY 10, 2019 ORDER FOR INTERLOCUTORY APPEAL
        AND FOR A STAY OF DISCOVERY PENDING APPEAL
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19                                  PageID.2897            Page 4 of 31




                                         TABLE OF CONTENTS

 INTRODUCTION .................................................................................................... 1

 RELEVANT PROCEDURAL HISTORY ............................................................... 1

 ARGUMENT ............................................................................................................ 3

          I.       DEFENDANTS HAVE NOT MET THE STRICT
                   STANDARD FOR A CERTIFICATE OF APPEALABILITY. ......... 3

                   A.       Interlocutory Review is Highly Disfavored and Only
                            Available in Exceptional Cases. ................................................ 3

                   B.       The Ongoing Harm to Plaintiffs Makes Interlocutory
                            Review Particularly Inappropriate Here. ................................... 6

                   C.       This Case Is Unsuitable for Interlocutory Review
                            Because the Supreme Court Already Reviewed the
                            Executive Action at Issue........................................................... 8

                   D.       Defendants Cannot Satisfy the Criteria of Section
                            1292(b). ...................................................................................... 9

                   E.       Defendants’ New Arguments in Support of Dismissal
                            Were Waived Long Ago, and Lack Merit. .............................. 15

          II.      A STAY IS NOT WARRANTED. .................................................... 18

 CONCLUSION ....................................................................................................... 23
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19                               PageID.2898          Page 5 of 31




                                      TABLE OF AUTHORITIES

                                                                                                            Page(s)

 Cases
 Ahrenholz v. Bd. of Trustees of Univ. of Ill.,
   219 F.3d 674 (7th Cir. 2000) ................................................................................ 5

 Alharbi v. Miller,
    368 F. Supp. 3d 527 (E.D.N.Y. 2019) ................................................................ 15

 In re Auto. Parts Antitrust Litig.,
     No. 12-md-02311, 2013 WL 4784682 (E.D. Mich. Sept. 6, 2013) ...................... 4

 Caterpillar Inc. v. Lewis,
   519 U.S. 61 (1996) ................................................................................................ 4

 Chrysler Group LLC v. S. Holland Dodge, Inc.,
   862 F. Supp. 2d 661 (E.D. Mich. 2012) ............................................................. 11

 City of Dearborn v. Comcast of Mich. III, Inc.,
    No. 08-cv-10156, 2008 WL 5084203 (E.D. Mich. Nov. 24, 2008) .............10, 11

 In re City of Memphis,
     293 F.3d 345 (6th Cir. 2002) ................................................................................ 4

 Clinton v. Jones,
    520 U.S. 681 (1997) ............................................................................................ 21

 Craigmiles v. Giles,
   312 F.3d 220 (6th Cir. 2002) .............................................................................. 14

 Dep’t of Commerce v. New York,
   139 S. Ct. 2551 (2019) ........................................................................................ 14

 Dumont v. Lyon,
   No. 17-cv-13080, 2018 WL 5292022 (E.D. Mich. Oct. 25, 2018) .................... 17

 Eberline v. Douglas J. Holdings, Inc.,
   No. 14-cv-10887, 2019 WL 989284 (E.D. Mich. Mar. 1, 2019) ....................... 12



                                                           ii
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19                               PageID.2899          Page 6 of 31



 Emami v. Nielsen,
   365 F. Supp. 3d 1009, 1022 (N.D. Cal. 2019) .................................................... 16

 Firestone Tire & Rubber Co. v. Risjord,
    449 U.S. 368 (1981) .............................................................................................. 5

 First Am. Corp. v. Al-Nahyan,
    948 F. Supp. 1107 (D.D.C. 1996) ....................................................................... 11

 Garber v. Office of the Comm’r of Baseball,
   120 F. Supp. 3d 334 (S.D.N.Y. 2014) .................................................................. 5

 Int’l Refugee Assistance Project v. Trump,
     373 F. Supp. 3d 650 (D. Md. 2019) .................................................................... 13

 Kleindienst v. Mandel,
    408 U.S. 753 (1972) ......................................................................................10, 13

 Kraus v. Bd. of Cnty. Road Comm’rs,
   364 F.2d 919 (6th Cir. 1966) ................................................................................ 4

 Landis v. N. Am. Co.,
   299 U.S. 248 (1936) ............................................................................................ 18

 In re Miedzianowski,
     735 F.3d 383 (6th Cir. 2013) ........................................................................11, 12

 Mobley v. City of Detroit,
   938 F. Supp. 2d 688 (E.D. Mich. 2013) ............................................................... 3

 Mohawk Indus., Inc. v. Carpenter,
   558 U.S. 100 (2009) .......................................................................................... 4, 9

 Nken v. Holder,
   556 U.S. 418 (2009) ............................................................................................ 18

 Ohio Envtl. Council v. U.S. Dist. Court,
   565 F.2d 393 (6th Cir. 1977) .............................................................................. 18

 Quackenbush v. Allstate Ins. Co.,
   517 U.S. 706 (1996) .............................................................................................. 3



                                                           iii
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19                                PageID.2900          Page 7 of 31



 Ramos v. Nielsen,
   336 F. Supp. 3d 1075 (N.D. Cal. 2018) .............................................................. 15

 Reed-Bey v. Pramstaller,
    No. 06-cv-10934, 2011 WL 37967 (E.D. Mich. Jan. 5, 2011) ............................. 3

 In re Sealed Case,
     121 F.3d 729 (D.C. Cir. 1997) ............................................................................ 19

 Sigma Fin. Corp. v. Am. Int’l Spec. Lines Ins. Co.,
    200 F. Supp. 2d 710 (E.D. Mich. 2002) .....................................................3, 5, 11

 Swint v. Chambers Cnty. Comm’n,
   514 U.S. 35 (1995) ................................................................................................ 5

 In re Trump,
     874 F.3d 948 (6th Cir. 2017) ............................................................................ 7, 8

 Trump v. Hawaii,
    138 S. Ct. 2392 (2018) .................................................................................passim

 In re United States,
     138 S. Ct. 443 (2017) ............................................................................................ 7

 U.S. Rubber Co. v. Wright,
    359 F.2d 784 (9th Cir. 1966) .............................................................................. 11

 White v. Nix,
   43 F.3d 374 (8th Cir. 1994) .................................................................................. 4

 Other Authorities

 28 U.S.C. § 1292 ...............................................................................................passim

 Fed. R. Civ. P. 12(b)(6)......................................................................................14, 22

 David G. Knibb, Fed. Court of Appeals Manual (6th ed. 2018) ............................. 18




                                                           iv
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19         PageID.2901    Page 8 of 31




                                  INTRODUCTION

       Plaintiffs filed this action more than two and a half years ago to obtain relief

 from the tremendous harm caused to them by President Trump’s Muslim Ban, which

 keeps them separated from their families, stigmatizes them by discriminating against

 Muslims, undermines their organizational missions, and compromises their First

 Amendment rights. Defendants obtained a prior stay of this action, arguing that

 appellate review would provide meaningful guidance to this Court. Trump v.

 Hawaii, 138 S. Ct. 2392 (2018), has now provided that guidance, and this Court

 followed that guidance in denying Defendants’ motion to dismiss. But Defendants

 disagree with the Court’s decision and refuse to litigate this case on its merits. They

 now argue that the guidance provided by the Supreme Court is insufficient, and that

 another trip up and down the appellate ladder is necessary before the case can even

 move forward. Meanwhile, the real, significant, and daily harm Plaintiffs suffer

 from the Muslim Ban continues unabated.

       Defendants have not satisfied the stringent requirements for certification of an

 interlocutory appeal. The Court should reject Defendants’ transparent attempt to

 stall this case yet again, and deny Defendants’ Motion.

                     RELEVANT PROCEDURAL HISTORY

       Plaintiffs brought this case on January 31, 2017, and filed a Second Amended

 Complaint on March 16, 2017. ECF #1, 41. On April 17, 2017, Defendants moved
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19       PageID.2902    Page 9 of 31



 to dismiss the Complaint; that motion was fully briefed by May 22, 2017. ECF #76,

 86, 98.

       On May 31, 2017, Defendants moved to stay the case pending review of the

 Muslim Ban by the Supreme Court, arguing that “review by the Supreme Court

 would be certain to provide substantial guidance to this Court and the Parties in

 resolving (or eliminating) the many pending discovery disputes and Defendants’

 fully briefed and pending motion to dismiss.” ECF #105, at PageID 1899. On June

 9, 2017, the Court granted a stay, in the expectation that the Supreme Court’s

 decision “will be particularly relevant to — and likely controlling of — this Court’s

 disposition” of pending motions, and “would also provide guidance regarding the

 appropriate scope of discovery.” ECF #114, at PageID 2305.

       On September 24, 2017, President Trump issued the third, now-operative

 version of the Muslim Ban, and the Court accordingly issued Orders permitting

 Plaintiffs to amend their Complaint once the Supreme Court concluded its review.

 ECF #119, 121. The Supreme Court issued its decision in Trump v. Hawaii on June

 26, 2018, after which Plaintiffs filed a Third Amended Complaint on September 13,

 2018. ECF #124.

       Defendants moved to dismiss, and this Court denied Defendants’ motion on

 July 10, 2019. ECF #138. Dissatisfied with the Court’s ruling, Defendants now

 move for certification of an interlocutory appeal and for a stay, once again arguing


                                          2
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19          PageID.2903    Page 10 of 31



  that appellate review will either put an end to this litigation or “provide significant

  guidance” about “what the scope of discovery (if any) should be.” ECF #140 (“Br.”),

  at PageID 2790.

                                      ARGUMENT

  I.    DEFENDANTS HAVE NOT MET THE STRICT STANDARD FOR A
        CERTIFICATE OF APPEALABILITY.

        A.      Interlocutory Review is Highly Disfavored and Only Available in
                Exceptional Cases.

        The Supreme Court has explained that “[t]he general rule is that ‘a party is

  entitled to a single appeal, to be deferred until final judgment has been entered, in

  which claims of district court error at any stage of the litigation may be ventilated.’”

  Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 712 (1996) (citation omitted); see

  also Sigma Fin. Corp. v. Am. Int’l Spec. Lines Ins. Co., 200 F. Supp. 2d 710, 723

  (E.D. Mich. 2002) (“Federal law expresses a strong policy against piecemeal

  appeals.”).   Here, two and a half years after the Complaint was filed, the

  Government’s appeal in another case challenging the same Executive Order at issue

  here has already resulted in a lengthy opinion from the Supreme Court. Despite that,

  Defendants seek another appeal on the same issues, all before discovery has even

  begun.

        As this Court has recognized, “Interlocutory appeals in the federal system are

  disfavored.” Mobley v. City of Detroit, 938 F. Supp. 2d 688, 690 (E.D. Mich. 2013)


                                             3
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19        PageID.2904     Page 11 of 31



  (Roberts, J.); Reed-Bey v. Pramstaller, No. 06-cv-10934, 2011 WL 37967, at *1

  (E.D. Mich. Jan. 5, 2011) (Roberts, J.). The Sixth Circuit has emphasized that

  “[r]eview under § 1292(b) is granted sparingly and only in exceptional cases.” In re

  City of Memphis, 293 F.3d 345, 350 (6th Cir. 2002); see also Kraus v. Bd. of Cnty.

  Road Comm’rs, 364 F.2d 919, 922 (6th Cir. 1966) (“Congress intended that section

  1292(b) should be sparingly applied.” (internal quotation marks omitted)).

        The burden is on Defendants to show that “exceptional circumstances exist”

  warranting interlocutory review. In re Auto. Parts Antitrust Litig., No. 12-md-

  02311, 2013 WL 4784682, at *2 (E.D. Mich. Sept. 6, 2013); see also White v. Nix,

  43 F.3d 374, 376 (8th Cir. 1994) (“[T]he movant bears the heavy burden of

  demonstrating that the case is an exceptional one in which immediate appeal is

  warranted”). “Routine resort to § 1292(b) requests would hardly comport with

  Congress’ design to reserve interlocutory review for ‘exceptional’ cases while

  generally retaining for the federal courts a firm final judgment rule.” Caterpillar

  Inc. v. Lewis, 519 U.S. 61, 74 (1996) (citations omitted); accord Mohawk Indus.,

  Inc. v. Carpenter, 558 U.S. 100, 106 (2009).

        28 U.S.C. § 1292(b) provides that in order to certify an order for interlocutory

  appeal, a district court must find that the order “involves a controlling question of

  law as to which there is substantial ground for difference of opinion and that an

  immediate appeal from the order may materially advance the ultimate termination


                                            4
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19          PageID.2905     Page 12 of 31



  of the litigation.” It is well established that these criteria are “conjunctive, not

  disjunctive,” Ahrenholz v. Bd. of Trustees of Univ. of Ill., 219 F.3d 674, 676 (7th Cir.

  2000), meaning that certification is impermissible if any part of the test is not met.

        Moreover, district courts have “first line discretion” to determine if the criteria

  of § 1292(b) have been satisfied. Swint v. Chambers Cnty. Comm’n, 514 U.S. 35,

  47 (1995); see also Sigma, 200 F. Supp. 2d at 723 (“The decision to certify an appeal

  pursuant to section 1292(b) is left to the sound discretion of the district court.”). And

  “even when the elements of Section 1292(b) are satisfied, the district court retains

  unfettered discretion to deny certification.” Garber v. Office of the Comm’r of

  Baseball, 120 F. Supp. 3d 334, 337 (S.D.N.Y. 2014) (quotation marks and citation

  omitted). The final judgment rule “emphasizes the deference that appellate courts

  owe to the trial judge as the individual initially called upon to decide the many

  questions of law and fact,” and “[p]ermitting piecemeal appeals would undermine

  the independence of the district judge” while creating an “obstruction to just claims.”

  Firestone Tire & Rubber Co. v. Risjord, 449 U.S. 368, 374 (1981) (quotation marks

  omitted).

        Defendants here have not carried their heavy burden of establishing that

  interlocutory review is warranted. There are no exceptional circumstances present

  to warrant interlocutory review; to the contrary, the ongoing harm to Plaintiffs

  militates against certification.


                                             5
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19        PageID.2906     Page 13 of 31



        What is exceptional about this case is that the Muslim Ban has already been

  subject to review by the Supreme Court, and that Court has spoken on the very

  questions that Defendants want certified for a second round of appeals. And

  Defendants would automatically be entitled to a third appeal if Plaintiffs ultimately

  prevail. Moreover, as Defendants’ brief makes clear, along the way they plan to

  appeal any adverse rulings they receive on discovery issues. That is simply not how

  the federal courts work.

        Both based on the criteria of the statute and in exercise of its discretion, the

  Court should deny Defendants’ motion.

        B.     The Ongoing Harm to Plaintiffs Makes Interlocutory Review
               Particularly Inappropriate Here.

        Defendants ask the Court to treat this case as so “extraordinary” that it merits

  a seemingly automatic certification for interlocutory appeal. But not only are the

  statutory requirements for certification not satisfied here, the broader context

  demonstrates that the Court should exercise its discretion not to certify an appeal.

        Plaintiffs suffer continuing harm every day that the Muslim Ban remains in

  effect. The Muslim Ban continues to keep children thousands of miles apart from

  their parents and siblings, and husbands apart from their wives. E.g., ECF #124

  (“Compl.”) at ¶¶ 294-96, 331, 349-85. Muslims continue to bear the stigma resulting

  from a governmental policy that discriminates against them and their religion and

  suggests that they should be excluded from the United States because they are

                                            6
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19         PageID.2907    Page 14 of 31



  dangerous. E.g., id. at ¶¶ 288-89, 297, 317-18. Organizations continue to be forced

  to divert resources to address the impact of the Muslim Ban on their members. E.g.,

  id. at ¶¶ 298, 301, 319, 324-30. Individuals continue to be prevented from freely

  associating with individuals subject to the Ban, and organizations are prevented from

  hosting speakers and colleagues subject to the Ban. E.g., id. at ¶¶ 296, 303-09, 315-

  16, 336-44. Plaintiffs have the right and the need to litigate their claims, and they

  should be allowed to do so without further delay.

        While delay severely harms the Plaintiffs, Defendants will not suffer any harm

  from litigating this case in the normal course in the District Court. Contrary to

  Defendants’ suggestion, see Br. at PageID 2775-76, neither the Supreme Court nor

  the Sixth Circuit has said that cases challenging this President’s actions are

  necessarily “of extraordinary national significance” meriting interlocutory review.

  This case is not like In re United States, where the Supreme Court instructed the

  District Court to “resolve[] the Government’s threshold arguments” — i.e., whether

  the court had jurisdiction in the first place — before ordering production of the

  administrative record. 138 S. Ct. 443, 445 (2017). Here, of course, there are no such

  jurisdictional issues awaiting the Court’s review.

        Nor is this case like In re Trump, where the Sixth Circuit was concerned that

  the plaintiffs were asking “the President of the United States [to] answer for a state-

  law claim” and seeking discovery of “the President’s tax returns and medical


                                            7
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19          PageID.2908     Page 15 of 31



  records” and a deposition of the President. 874 F.3d 948, 952 (6th Cir. 2017). Here,

  there are no federalism concerns, and Plaintiffs have not sought any discovery

  regarding the President’s personal finances or health. In any event, Defendants can

  raise their objections to discovery as the case proceeds. Requiring a litigant to

  litigate does not create an exceptional circumstance justifying interlocutory review.

        C.     This Case Is Unsuitable for Interlocutory Review Because the
               Supreme Court Already Reviewed the Executive Action at Issue.

        This case presents an even weaker argument for interlocutory review than the

  typical situation where a defendant is complaining about a denial of a motion to

  dismiss. This is the unusual case where the Supreme Court has already heard

  Defendants’ arguments and opined on the very same executive action being

  challenged in the district court. The Supreme Court issued a 39-page opinion in

  Hawaii that exhaustively addressed what standard should be used to evaluate the

  Muslim Ban, providing all the guidance necessary to proceed with this litigation.

  138 S. Ct. 2392. There has been no factual or legal development in the past year

  that would permit the Sixth Circuit to depart from the Supreme Court’s ruling in

  order to satisfy Defendants. Until this Court has the opportunity to reach a judgment

  based on a fully developed factual record, there is nothing for the Sixth Circuit to

  decide. In short, the appellate proceedings Defendants seek have already happened.

        Defendants acknowledge that, in addition to satisfying “the explicit standards

  for certification under § 1292(b),” they must satisfy “the rule that certification should

                                             8
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19           PageID.2909     Page 16 of 31



  focus on decisions of new legal questions or matters of special consequence.” Br. at

  PageID 2776 (quoting Mohawk, 558 U.S. at 111) (quotation marks and alterations

  omitted). But this case no longer presents “new legal questions or matters of special

  consequence.” Defendants already received interlocutory review — all the way to

  the Supreme Court — of challenges to the Muslim Ban. Although that special

  treatment may have been justified two years ago, it is no longer justified today. And

  this Court, like every district court, is fully qualified to interpret and apply decisions

  of the Supreme Court without obtaining affirmation from the Court of Appeals every

  step of the way.

        Defendants’ motion makes clear that they want to use interlocutory review as

  an end run around any orders the Court may issue permitting this case to proceed.

  See Br. at PageID 2793-94. Rather than allow the facts to come to light so that this

  Court can consider them in an orderly manner, Defendants clearly hope to continue

  tying up this litigation in endless appeals, without ever offering the courts the benefit

  of a developed factual record. But Section 1292(b) does not entitle the Government

  to a never-ending loop of appeals whenever district courts rule against it, and the

  Court should not permit Defendants to use the statute to that end.

        D.     Defendants Cannot Satisfy the Criteria of Section 1292(b).

        Defendants claim there are four questions warranting review: whether the

  Muslim ban should be subject to “rational basis review”; whether “Hawaii already


                                              9
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19        PageID.2910     Page 17 of 31



  determined that the Proclamation adequately satisfies both Mandel and rational basis

  review”; whether the allegations in Plaintiffs’ complaint state a claim in light of

  Hawaii; and whether there is “a cognizable liberty or property interest for Plaintiffs

  in the issuance of a visa to foreign-national family members.” Br. at PageID 2777-

  79. Defendants have not carried their burden as to any of these questions. As to the

  first two, the Supreme Court spoke clearly in Hawaii.          As to the latter two,

  Defendants long ago waived those arguments, which lack merit in any event.

        Far from “materially advanc[ing] the ultimate termination of the litigation” as

  required by § 1292(b), an interlocutory appeal here would do nothing more than

  create additional delay. Far from presenting a “controlling question of law” to be

  resolved by the Sixth Circuit, Defendants make clear that they intend to simply re-

  argue issues that they have already lost. And far from demonstrating a “substantial

  ground for difference of opinion,” Defendants make clear that they are no different

  than every other defendant that disagrees with a decision denying a motion to

  dismiss.

        Certification under § 1292(b) requires much more. As this Court has noted,

  “Simply because a court decides a novel issue or a question of first impression does

  not mean there is substantial ground for difference of opinion concerning the

  correctness of the ruling.” City of Dearborn v. Comcast of Mich. III, Inc., No. 08-

  cv-10156, 2008 WL 5084203, at *3 (E.D. Mich. Nov. 24, 2008) (Roberts, J.). “Mere


                                           10
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19          PageID.2911     Page 18 of 31



  disagreement, even if vehement, with a court’s ruling on a motion to dismiss does

  not establish a ‘substantial ground for difference of opinion’ sufficient to satisfy the

  statutory requirements for an interlocutory appeal.” First Am. Corp. v. Al-Nahyan,

  948 F. Supp. 1107, 1116 (D.D.C. 1996). That is because “Section 1292(b) was not

  intended merely to provide review for difficult rulings in hard cases.” Sigma, 200

  F. Supp. 2d at 723 (quoting U.S. Rubber Co. v. Wright, 359 F.2d 784, 785 (9th Cir.

  1966)).

        Rather, “[s]erious doubt as to how an issue should be decided must exist in

  order for there to be substantial ground for difference of opinion.” Dearborn, 2008

  WL 5084203, at *3. That requirement is met only when “(1) the question is difficult,

  novel and either a question on which there is little precedent or one whose correct

  resolution is not substantially guided by previous decisions; (2) the question is

  difficult and of first impression; (3) a difference of opinion exists within the

  controlling circuit; or (4) the circuits are split on the question.” In re Miedzianowski,

  735 F.3d 383, 384 (6th Cir. 2013) (quoting Dearborn, 2008 WL 5084203, at *3).

  That is, “[u]nder Sixth Circuit law, ‘substantial grounds for difference of opinion’

  exist only when there is conflicting authority on an issue.” Chrysler Group LLC v.

  S. Holland Dodge, Inc., 862 F. Supp. 2d 661, 688 (E.D. Mich. 2012) (citations

  omitted).




                                             11
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19          PageID.2912    Page 19 of 31



        Defendants have not satisfied any of these criteria for showing a “substantial

  ground for a difference of opinion” as to whether the Muslim Ban should be subject

  to rational basis review, whether it satisfies that standard, and thus whether this case

  should proceed after Hawaii. The question of what standard to apply to the Muslim

  Ban was presented to the Supreme Court in Hawaii, and is now “substantially

  guided” by Hawaii itself. See Order Denying Defendants’ Motion to Dismiss

  Plaintiffs’ Third Amended Complaint (July 10, 2019), ECF #138 (“Op.”) at PageID

  2749. This is not a case where this Court was operating without the benefit of

  relevant appellate precedent. To the contrary, the Court was directly applying a

  decision of the Supreme Court prescribing the standards against which to judge the

  very presidential action at issue here, and the Court properly applied those rules in

  denying Defendants’ motion to dismiss. This case is thus entirely unlike Eberline v.

  Douglas J. Holdings, Inc., No. 14-cv-10887, 2019 WL 989284 (E.D. Mich. Mar. 1,

  2019), relied on by Defendants, and other cases where no higher court has weighed

  in before the District Court’s decision. Although appellate guidance may have been

  appropriate at the outset of this litigation, that guidance has now been provided.

        Nor is there any circuit split or “difference of opinion” on this matter within

  the Sixth Circuit. See In re Miedzianowski, 735 F.3d at 384. To the contrary, the

  only other court to give careful consideration to the impact of Hawaii on challenges

  to the Muslim Ban concluded, like this Court, that such challenges may proceed.


                                            12
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19         PageID.2913    Page 20 of 31



  Int’l Refugee Assistance Project v. Trump (“IRAP”), 373 F. Supp. 3d 650 (D. Md.

  2019).

        There is also no legitimate doubt as to how Defendants’ motion should have

  been decided. The Court’s ruling was grounded in a common-sense reading of

  Hawaii, well-established Supreme Court precedents prescribing the standards for

  rational basis review, and hornbook principles regarding the difference between the

  standards for obtaining a preliminary injunction and surviving a motion to dismiss.

        Defendants continue to rely on a distorted reading of Hawaii to support their

  arguments — a reading based on a series of arguments that the Supreme Court

  rejected in Hawaii itself. Defendants claim that this Court may not apply rational

  basis review, and is instead limited to the “facially legitimate” standard of

  Kleindienst v. Mandel, 408 U.S. 753 (1972). Br. at PageID 2782. But the Supreme

  Court explicitly declined to “put an end to [its] review” by relying on a “conventional

  application of Mandel,” and instead “look[ed] behind the face of the Proclamation

  to the extent of applying rational basis review.” Hawaii, 138 S. Ct. at 2420; Op. at

  PageID 2746.       Defendants claim that Hawaii conclusively resolved the

  constitutionality of the Muslim Ban, but the Supreme Court was clear that it was

  only determining whether the plaintiffs had “demonstrated a likelihood of success

  on the merits of their [Establishment Clause] claim,” as needed to obtain a

  preliminary injunction. 138 S. Ct. at 2423; Op. at PageID 2747. Indeed, the


                                            13
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19        PageID.2914     Page 21 of 31



  Supreme Court concluded by “remand[ing]” Hawaii “for further proceedings,” not

  with instructions to the lower courts to dismiss the cases before them. 138 S. Ct. at

  2423. Defendants characterize Hawaii as “conclusive[],” Br. at PageID 2784, but

  nothing in Hawaii concluded that Plaintiffs’ allegations, which also invoke the equal

  protection guarantee of the Fifth Amendment and the rights to free speech and

  association under the First Amendment, fail to satisfy the standards of Rule 12(b)(6).

  Op. at PageID 2749.

        Moreover, Defendants ignore that rational basis review considers whether the

  Government’s “proffered explanations” for a law are “pretextual.” Craigmiles v.

  Giles, 312 F.3d 220, 229 (6th Cir. 2002). Although Defendants suggest that Hawaii

  “foreclosed” any inquiry into whether the Government’s asserted justification for

  the Muslim Ban is pretextual, Br. at PageID 2786, the opposite is true: Hawaii

  “look[ed] behind the face of the Proclamation” and was decided based on whether

  the evidence available to the Court at that preliminary stage was “persuasive,” 138

  S. Ct. at 2420-21, and this Court may — or may not — reach a different

  determination once Plaintiffs have the opportunity to conduct discovery. See, e.g.,

  Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2574-75 (2019) (documents

  revealed during litigation showed that “the evidence tells a story that does not match

  the explanation the [Commerce] Secretary gave for his decision” and “justified” the

  District Court’s order of discovery); Ramos v. Nielsen, 336 F. Supp. 3d 1075, 1100-


                                           14
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19           PageID.2915     Page 22 of 31



  05 (N.D. Cal. 2018) (enjoining withdrawal of Temporary Protected Status based in

  part on evidence of animus from emails and declarations by government officials).

        As this Court pointed out, the Ban will “fail rational basis review if the

  evidence revealed that for each of its proffered purposes, either that purpose was not

  a legitimate state interest or, if legitimate, the Proclamation was not rationally related

  to that purpose — such that it was unable to be explained by anything but animus

  toward Muslims.”       Op. at PageID 2748.        This is true regardless of whether

  Defendants choose to characterize the purpose of the Ban as “national security” or

  “foreign affairs.” Br. at PageID 2787.

        E.     Defendants’ New Arguments in Support of Dismissal Were Waived
               Long Ago, and Lack Merit.

        Defendants’ effort to raise new arguments in support of dismissal should be

  summarily rejected. Defendants never challenged the sufficiency of Plaintiffs’

  allegations in their motion to dismiss, see Op. at PageID 2744, as they attempt to do

  now, see Br. at PageID 2786. Nor did they previously argue that Plaintiffs’ “due

  process and Establishment claims” fail because Plaintiffs have not been “deprived

  of a liberty or property interest.” Br. at PageID 2789. Defendants waived those

  arguments long ago, and it is far too late for them to make them now.

        In any event, Defendants’ new arguments also lack merit. It is preposterous

  to contend that this Court should certify an appeal because other courts found other

  complaints to be insufficient. See Alharbi v. Miller, 368 F. Supp. 3d 527, 554, 565

                                             15
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19          PageID.2916     Page 23 of 31



  (E.D.N.Y. 2019) (rejecting “conclusory pleading” and “bare-boned and conclusory”

  claim); Emami v. Nielsen, 365 F. Supp. 3d 1009, 1022 (N.D. Cal. 2019) (dismissing

  equal protection claim because it relied on “assumptions” of discrimination, rather

  than “non-conclusory allegations”). The relevant question before this Court was

  whether the Complaint in this case “states a plausible claim for relief,” “constru[ing]

  the complaint in the light most favorable to the plaintiff, accept[ing] as true all well-

  pled factual allegations, and draw[ing] all reasonable inferences in favor of the

  plaintiff.” Op. at PageID 2749. As the Court properly found, the Complaint at issue

  in this case “contains extensive, detailed, and non-conclusory allegations that

  support” Plaintiffs’ claims. Op. at PageID 2750.

        Defendants insist that the facts alleged in the Complaint were “already

  considered by the Supreme Court in Hawaii or are legally irrelevant,” Br. at PageID

  2787, but they offer no specifics to back up this broad claim. Moreover, they ignore

  that crucial facts were not before the Supreme Court at the time it decided Hawaii.

  See, e.g., Compl. at ¶ 157 (post-Hawaii concession by Department of Justice that no

  data supported President’s claim that “the vast majority of individuals convicted of

  terrorism . . . came here from outside of our country”); id. at ¶ 241 (post-Hawaii data

  showing that Department of State has generally failed to advance waiver

  applications).




                                             16
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19        PageID.2917     Page 24 of 31



        Defendants’ arguments regarding what they call the “due process and

  Establishment claims” are perplexing and misleading. Contrary to Defendants’

  suggestion, Plaintiffs have not asserted a due process or Establishment Clause claim

  that their “family members [should be] issued a visa.” See Br. at PageID 2789-90.

  Nor are any of the Plaintiffs “alien[s] seeking admission to the country.” Id. Rather,

  all of the Plaintiffs are asserting claims based on harms to their own interests.

  Plaintiffs allege that the equal protection requirement of the Constitution prohibits

  Defendants from using measures motivated by animus and religious discrimination

  to burden Plaintiffs’ right to associate with their families and raise their children.

  Compl. at ¶¶ 404-18. And Plaintiffs allege that Defendants have violated the

  Establishment Clause by disfavoring and disadvantaging Islam as compared to other

  religions. Compl. at ¶¶ 394-403. The cases relied on by Defendants, see Br. at

  PageID 2789-90, thus do not undermine the claims that Plaintiffs have actually

  made. See, e.g., Dumont v. Lyon, No. 17-cv-13080, 2018 WL 5292022, at *3 (E.D.

  Mich. Oct. 25, 2018) (denying certification where the premise of the defendants’

  motion was “simply not the issues presented by the Plaintiffs’ Complaint, or the

  issues addressed and decided by the Court,” and, “as to the issues that the Court did

  decide, the Court relied on controlling . . . Supreme Court precedent”).




                                           17
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19          PageID.2918    Page 25 of 31




  II.   A STAY IS NOT WARRANTED.

        By default, certification “shall not stay proceedings in the district court.”

  § 1292(b); see also David G. Knibb, Fed. Court of Appeals Manual § 5:6 (6th ed.

  2018) (explaining that under Section 1292(b) “[t]he presumption is against a stay”

  so that “[o]ther proceedings can continue”). The decision to stay proceedings is a

  matter committed to the Court’s discretion, Landis v. N. Am. Co., 299 U.S. 248, 256

  (1936), but a Court “must tread carefully in granting a stay of proceedings, since a

  party has a right to a determination of its rights and liabilities without undue delay.”

  Ohio Envtl. Council v. U.S. Dist. Court, 565 F.2d 393, 396 (6th Cir. 1977). The

  “burden is on the party seeking the stay to show that there is pressing need for delay,

  and that neither the other party nor the public will suffer harm” from a stay. Id. “A

  stay is not a matter of right, even if irreparable injury might otherwise result.” Nken

  v. Holder, 556 U.S. 418, 433 (2009) (quotation marks omitted).

        Defendants have not satisfied this high standard. Additional delay will

  continue to harm Plaintiffs and will serve no “pressing need.”

        In seeking a stay of discovery, Defendants are again trying to avoid any

  meaningful judicial review of their sweeping and unsubstantiated claims of

  privilege. They ask this Court to take their word that certain documents — and, it

  seems, all documents — responsive to Plaintiffs’ discovery “are covered by the

  presidential communications privilege.” Br. at PageID 2791-92. But there is no


                                            18
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19        PageID.2919     Page 26 of 31



  reason to believe that claim for even a moment. All four of Plaintiffs’ pending

  document requests seek documents created prior to Donald Trump becoming the

  President, which is when the presidential communications privilege would attach.

  ECF #104-1, Ex. A. Defendants have only served objections to one of those requests

  so far, and that request sought a single document created before Donald Trump was

  even the Republican nominee, much less the President. ECF #104-1, Ex. B.

         Yet Defendants confidently assert that the “presidential communications

  privilege” will insulate them from discovery, and that it would be a waste of time

  for the Court to even inquire into the basis for that assertion, much less decide

  whether it is valid. That position lacks any merit. See In re Sealed Case, 121 F.3d

  729, 749, 752 (D.C. Cir. 1997) (The presidential communications privilege must be

  “narrowly construed,” and “the government bears the burden of proving that the

  communications occurred in conjunction with the process of advising the President”

  on “official government matters.”). Nor is there any support for the notion that the

  limited discovery sought by Plaintiffs “would be extraordinarily burdensome,” as

  Defendants contend. Br. at PageID 2791. As the Court recognized in its Order

  issued on May 11, 2017, there is no substance to Defendants’ arguments. See ECF

  #89, at PageID 1224-25 (“The Court believes Defendants exaggerate the number of

  legitimate objections they will have and the complexity of the issues those objections

  will raise.”).


                                           19
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19         PageID.2920    Page 27 of 31



        Defendants also declare that “Plaintiffs would not suffer any meaningful

  prejudice” from a stay. Br. at PageID 2792. That is premised on the assertion that

  Plaintiffs are suffering no ongoing harm. That is obviously wrong. As discussed

  above, every day that the Muslim Ban remains in effect, Plaintiffs suffer continuing

  harm from the family separation inflicted upon them, the stigma of government

  discrimination, the diversion of organizational resources, and the constraints on their

  First Amendment rights. Moreover, every day that Plaintiffs are prevented from

  pursuing discovery (especially when added to the extensive delay thus far) increases

  the risk that documents will be lost and memories will go stale. Plaintiffs would

  suffer significant prejudice from a stay.

        Nor is there any reason to credit Defendants’ suggestion that a stay will result

  in only a brief delay. Br. at PageID 2792. Defendants rely heavily on this Court’s

  June 2017 Order staying this case pending Supreme Court review. ECF #114. But

  when this Court issued that stay two years ago, the “Fourth Circuit [had] upheld [a]

  nationwide injunction of the” Muslim Ban, and the Supreme Court had already

  indicated it was “expediting its decision on Defendants’ petition for certiorari.” Id.

  at PageID 2307. Even under those circumstances, another year passed before the

  Supreme Court issued its ruling. Today, there is no injunction in place to protect

  Plaintiffs, and there is no proceeding pending before the Supreme Court. And there

  is every reason to believe that after Defendants lose before the Sixth Circuit they


                                              20
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19          PageID.2921     Page 28 of 31



  will seek yet another round of Supreme Court review. This is no longer a situation

  where Plaintiffs are being asked “to submit to delay not immoderate in extent and

  not oppressive in its consequences.” Id. at PageID 2304 (quoting Clinton v. Jones,

  520 U.S. 681, 706 (1997)). This is a situation where, if Defendants have their way,

  Plaintiffs will indefinitely suffer substantial harm because Defendants do not want

  to litigate the merits of their case.

         Defendants’ argument that a stay “is warranted for the same reasons why this

  Court previously stayed this case,” Br. at PageID 2790, reveals how disingenuous

  Defendants’ position is. Two years ago, Defendants sought a stay because, they

  said, “Further review by the Supreme Court would be certain to provide substantial

  guidance to this Court and the parties in resolving (or eliminating) the many pending

  discovery requests and Defendants’ fully briefed and pending motion to dismiss.”

  ECF #105, at PageID 1899. Today, they assure the Court that the “Sixth Circuit may

  terminate this litigation entirely,” or at least “provide significant guidance about the

  appropriate standard of review” and “reasons why Plaintiffs’ legal [sic] might be

  plausible in light of that standard,” and “thus what the scope of discovery (if any)

  should be.” Br. at PageID 2790. But Hawaii has not satisfied Defendants, and there

  is no reason to think that they will be willing to pursue litigation in the normal course

  after yet another round of appellate review.




                                             21
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19        PageID.2922    Page 29 of 31



        To the contrary, Defendants’ motion makes clear that they do not intend to

  produce a single document or witness, and instead plan to keep engaging in

  “significant motions practice” and then appeal any adverse rulings “before the Sixth

  Circuit,” whether those rulings concern the merits or discovery. Br. at PageID 2791.

  Each time they lose before the Sixth Circuit, they will surely seek review in the

  Supreme Court. Even if all of that could be completed in record speed, it would take

  years (likely longer than the rest of President Trump’s current term), all while

  Plaintiffs suffer ongoing harm from Defendants’ actions. Defendants’ approach

  would allow procedural delays to defeat Plaintiffs’ right to have their claims heard.

        There is no reason to wait any longer: the Court should allow discovery to

  proceed so that Defendants’ objections can be heard and addressed. Again, that is

  exactly what this Court concluded more than two years ago in its May 11, 2017

  Order. ECF #89 at PageID 1224. Defendants’ privilege claims can be evaluated by

  this Court without a Sixth Circuit interpretation of Hawaii:         the validity of

  Defendants’ privilege claims has nothing to do with whether Plaintiffs’ Complaint

  passes muster under Rule 12(b)(6), and an appeal from the Court’s July 10 Opinion

  would therefore not present Defendants’ privilege claims to the Sixth Circuit.

        Two years have passed since this Court’s June 2017 stay, and circumstances

  have changed. The Supreme Court has spoken and offered the guidance that

  Defendants claimed was needed. Hawaii allows this case to proceed. Plaintiffs are


                                           22
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19        PageID.2923   Page 30 of 31



  still being harmed. There is no reason for the Court to postpone discovery any

  further.

        For these reasons, and for the reasons presented in Plaintiffs’ Reply

  Memorandum in further support of Plaintiffs’ Motion to Reinstate Fully-Briefed

  Motion to Compel and Require Responses to Outstanding Discovery Requests

  (which is incorporated here by reference), the Court should deny Defendants’

  request for a stay.

                                    CONCLUSION

        For the reasons stated above, the Court should deny Defendants’ Motion to

  certify the case for interlocutory review and stay discovery.




                                           23
Case 2:17-cv-10310-VAR-SDD ECF No. 145 filed 08/06/19       PageID.2924   Page 31 of 31




                           CERTIFICATE OF SERVICE

        This Memorandum was filed on August 6, 2019, via the Court’s ECF

  system, which provides notice to all counsel of record.



                                                     /s/ Nishchay H. Maskay
                                                     Nishchay H. Maskay
                                                     (D.C. Bar #998983)
